      Case 2:20-cv-00099-WKW-JTA Document 101 Filed 09/07/22 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 JONATHAN SINGLETON on behalf of
 himself and others similarly situated,

 Plaintiff,

 v.
                                                            Case No. 2:20-cv-99-WKW
 HAL TAYLOR, in his official capacity as                        CLASS ACTION
 Secretary of the Alabama Law
 Enforcement Agency, and DERRICK
 CUNNINGHAM, in his official capacity
 as Sheriff for Montgomery County,

 Defendants.

      JOINT MOTION FOR FINAL APPROVAL OF PROPOSED CLASS ACTION
        SETTLEMENT BETWEEN PLAINTIFF AND DEFENDANT DERRICK
                          CUNNINGHAM ONLY
        COME NOW Plaintiff and Class Representative Jonathan Singleton (“Plaintiff”), on behalf

of himself and others similarly situated, and Defendant Derrick Cunningham, in his official

capacity as Sherriff for Montgomery County (“Defendant”) (jointly “Parties”) and respectfully

move this Court pursuant to Federal Rules of Civil Procedure 23 and 41 to:

        1. Grant final approval of the negotiated proposed Class Action Settlement Agreement

              (“Agreement”) between Plaintiff and Defendant Derick Cunningham ONLY under

              Fed. R. Civ. P. 23(e);

        2. Enter a final order approving the Parties’ Agreement;

        3. Retain jurisdiction to enforce the Agreement for three (3) years after dismissal. In the

              Agreement, the Parties agreed that they would stipulate to dismissal of the case

              pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) upon approval of the settlement and

              contingent upon this Court’s retention of jurisdiction to enforce the terms of the
     Case 2:20-cv-00099-WKW-JTA Document 101 Filed 09/07/22 Page 2 of 3




           Agreement for a period of three (3) years. See Anago Franchising, Inc. v. Shaz, LLC,

           677 F.3d 1272, 1280–81 (11th Cir. 2012) (explaining court must expressly retain

           jurisdiction to enforce settlement agreement and will lack jurisdiction to do so if it fails

           to issue order retaining jurisdiction) (citation omitted); and

       4. Order the Parties to submit a stipulation of dismissal within 10 days pursuant to Fed.

           R. Civ. P. 41(a)(1)(A)(ii) so that the claims against Defendant Derrick Cunningham

           ONLY may be fully dismissed.

       The Parties respectfully submit a Memorandum of Law in support of this Motion.

Additionally, for the Court’s convenience, the Parties have provided a proposed order granting this

Motion; approving the Stipulated Settlement Agreement; retaining jurisdiction to enforce the

Agreement for three (3) years; and ordering the Parties to submit a stipulation of dismissal within

10 days pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

Respectfully submitted this 7th day September, 2022 by:

                                                       /s/ Micah West
                                                       On Behalf of Plaintiff’s and Class Counsel


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Case 2:20-cv-00099-WKW-JTA Document 101 Filed 09/07/22 Page 3 of 3




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